        Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 1 of 15




                 Exhibit 9
REDACTED VERSION OF DOCUMENT SOUGHT TO BE FILED UNDER SEAL
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 2 of 15




                                                                                             Deborah L. Stein
                                                                                             Direct: +1 213.229.7164
April 1, 2021                                                                                Fax: +1 213.229.6164
                                                                                             DStein@gibsondunn.com


VIA E-MAIL

Derek W. Loeser
Keller Rohrback L.L.P.
1201 Third Avenue, Suite 3200
Seattle, WA 98101

Lesley E. Weaver
Bleichmar Fonti & Auld LLP
555 12th Street, Suite 1600
Oakland, CA 94607

Re:     In re Facebook, Inc. Consumer Privacy User Profile Litigation

Counsel:
        We write in response to Plaintiffs’ recent flurry of letters purporting to invoke the
parties’ expedited dispute protocol and threatening to file a series of accelerated motions to
compel. Plaintiffs’ letters are an abuse of the parties’ dispute protocol, which is intended to
address a party’s refusal to produce previously-requested information—not to demand
information never previously requested or discussed. Plaintiffs’ letters also reflect an
abusive litigation tactic that is making it nearly impossible to move this case forward.
Plaintiffs’ letters seek to unravel many months, if not more, of negotiations; ignore rulings
Judge Chhabria and Judge Corley have issued; and informally demand information on an
expedited schedule that has never been discussed and has no bearing on this case.1
        Facebook would like this case to move forward quickly and efficiently so that the
parties can finally litigate Plaintiffs’ live claims on the merits. It is impossible to make
progress when Plaintiffs insist on an unfocused, whack-a-mole discovery process that
unwinds past agreements and work. The parties dedicate an enormous amount of time and
resources to meeting and conferring regarding discovery requests. The meet and confer
process that Judge Corley ordered is designed to allow the parties to reach a compromise and
move on. Facebook cannot have faith in this process or rely upon agreements the parties

1
  In this letter, we respond specifically to Plaintiffs’ letters dated March 4, March 1, February 19, and
February 11, each of which invoke the parties expedited dispute protocol. Facebook responded
separately on March 23 to Plaintiffs’ March 18 demand that the parties enter a Rule 53 stipulation.
Facebook responded by email on March 22 to Plaintiffs’ March 15 demand for certain deposition
transcripts and interrogatory responses from government matters. Facebook responded by email on
March 21 to Plaintiffs’ March 16 letter taking the position that inadvertent, privileged testimony may
not be clawed back. Facebook is responding separately to Plaintiffs’ additional demand, also in their
March 1 letter, for a list of the materials counsel selected for Facebook’s deponents to review in
advance of their depositions. Facebook will also respond separately to Plaintiffs’ letter dated March
9, which raises various complaints with respect to Facebook’s 516 pages of responses to Plaintiffs’
Fourth Set of Interrogatories.
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 3 of 15



have reached when Plaintiffs constantly seek to reopen and expand those agreements.
Facebook urges Plaintiffs to reevaluate their approach and to focus on forward progress.
I.      Plaintiffs’ March 1 letter demanding “all data” relating to the Named Plaintiffs.
        Plaintiffs’ March 1, 2021 letter demands Facebook produce “all data and information
relating to the Named Plaintiffs”—even if the data was not shared with third parties. There
is no basis for this overbroad request. After the parties engaged in nearly a year of
negotiations, informal discovery, and briefing on Plaintiffs’ blanket demand for data
“relating” to the Named Plaintiffs, Plaintiffs finally informed the Court on the last page of
their sur-reply on Facebook’s motion to enforce the partial stay of discovery that they “seek
only a holding that the sensitive data Facebook collected about ten Named Plaintiffs and
shared with third parties is relevant.” Plaintiffs conceded: “Plaintiffs do not contend that
information that was not shared is relevant, which substantially narrows the
information Facebook would be required to produce in this case.” Dkt. 548 at 9.
         Plaintiffs’ “renew[ed]” request for “all data” related to the Named Plaintiffs—
including data that was never shared—seeks to unwind more than a year of forward progress.
It also directly contradicts the representations Plaintiffs made to the Court in their prior
briefing, which the Court accepted and relied on in issuing Discovery Order 9.
        A.      Facebook produced more than 1,000,000 pages of user data.
        For nearly a year, Plaintiffs insisted that Facebook locate and produce any data
Facebook presently has access to that might, in any way, relate to any Named Plaintiff, plus
any derivative materials drawing on that data. Plaintiffs demanded all of this information
even if it was never shared outside of the Company and even if it is not associated with any
particular user.
        In response to this request, Facebook discussed with Plaintiffs in January 2020 that
the best way to produce the individual user data that could be within the scope of this case
was to produce for each Named Plaintiff the content and information that Facebook
associates with each Named Plaintiffs’ account. This information is contained in the
“Download Your Information” (“DYI”) file that Facebook also makes available to users.
Facebook’s current DYI tool reflects, in human-readable form, the most complete
compilation of data Facebook maintains relating to any user, including any individual user
data that third parties might have been able to access.
       Beginning in February 2020, Facebook produced the information contained in the
DYI file for each of the Named Plaintiffs, plus certain additional information (such as a
spreadsheet containing data tracking how Plaintiffs adjusted their Facebook privacy settings).
In total, Facebook produced more than one million pages of individual user data it
maintains relating to the Named Plaintiffs.2
        Facebook made these productions despite repeatedly expressing concerns that much
the data it produced is not probative of any issue in this privacy litigation—which is about
data sharing (not the data Facebook maintains). As Judge Chhabria explained in the first line
of his Motion to Dismiss Order: “This lawsuit, which stems from the Cambridge Analytica
scandal, is about Facebook’s practice of sharing its users’ personal information with third
parties. . . . [Plaintiffs’] principal allegations are that Facebook: (i) made sensitive user
2
  These productions were extremely burdensome and took many months to complete because they
required reformatting data that is typically available only on a live website into individual documents
for use in litigation. Plaintiffs initially objected to the format in which Facebook produced the
materials. Facebook then reproduced documents to address Plaintiffs’ formatting concerns. Plaintiffs
amended their complaint in August 2020 to substitute new Named Plaintiffs. Facebook subsequently
produced the same materials for the new Named Plaintiffs.



                                                  2
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 4 of 15



information available to countless companies and individuals without the consent of the
users, and (ii) failed to prevent those same companies and individuals from selling or
otherwise misusing the information.” Id. at 1. The more than one-million pages of
individual user data Facebook produced far exceed that scope. Facebook’s productions of
individual user data are overinclusive in that Facebook produced the data it associates with
each Named Plaintiffs’ account and did not limit its production to data that actually was
accessed by or shared with third parties. Facebook also did not limit its productions
“sensitive data,” as defined in the Court’s motion to dismiss order as the only type of data at
issue in this case. See, e.g., id. at 1, 7, 9, 13.
        B.      Plaintiffs demanded vast amounts of additional data—even if never
                shared.
        After Facebook produced the individual user data that Facebook associates with the
Named Plaintiffs’ accounts—including data outside the scope of this case—Plaintiffs insisted
that Facebook also locate and produce any other data that might, in any way, relate to any
Named Plaintiff, as well as any materials derived from that data. In making this demand,
Plaintiffs focused largely on a database called Hive and demanded that Facebook produce
any data relating to any Named Plaintiff that is currently in that database. Plaintiffs
articulated no basis on which the data they demanded could be relevant to their live claims.
      The parties met and conferred about Plaintiffs’ demand over the course of several
months.3




       As Facebook explained, Plaintiffs’ blanket demand not only sought large volumes of
data having nothing to do with their claims—it was also nearly impossible to satisfy. As
Facebook has explained,




         Facebook explained that such a remarkable undertaking
and would result in the production of massive amounts of internal data tables that are

3
 At one point during the parties’ extensive discussions on this issue, Facebook asked Plaintiffs if they
would, at minimum, agree that if Facebook hypothetically possessed a database that had the ability to
receive data, but no ability to output (i.e., share) data, that database would be out of scope. Plaintiffs
refused to agree, arguing that the hypothetical database could theoretically create “inferences” from
user data that Facebook could use to place advertisements on its platform.
4
 Plaintiffs state that “counsel has demonstrated that Hive tables can be searched by userID [sic].” To
be clear, as Facebook has repeatedly informed Plaintiffs, individual Hive tables can be searched by
user ID only if user ID is one of the fields tracked in the table. The database housing Hive tables is
not indexed by user ID such that a single search can be conducted to find which of the 12 million
Hive tables contains data related to a particular user ID.
5
 This does not include any data produced in response to subpoenas or as part of Facebook’s
discovery obligations. Certain Hive data has been produced in those contexts.



                                                    3
       Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 5 of 15



irrelevant and immaterial to Plaintiffs’ claims, which concern only sensitive individual user
data that was shared with third parties.
        C.     The Parties litigated the scope of discoverable user data and Plaintiffs
               conceded that only shared data is relevant.
        The parties then litigated the scope of discoverable user data in connection with
Facebook’s motion to enforce the partial stay of discovery. Throughout their briefs,
Plaintiffs repeatedly acknowledged that the only data that is relevant to this case is data that
was shared with third parties:
   •    “This discovery dispute concerns sensitive user information that Facebook has shared
        with third parties without users’ consent.” (Dkt. 547-3 at 1).
   •    “Plaintiffs’ standing to bring their claims, and the validity of many of those claims,
        depends on . . . whether Facebook shared that information with third parties.” (Dkt.
        526 at 5); see also id. at 10–11 (acknowledging that Plaintiffs’ claims require proof
        that Facebook shared Plaintiffs’ information with third parties).
   •    “[S]ensitive user information is relevant if Facebook shared it without users’
        consent.” (Dkt. 547-3 at 2).
   •    “[T]he legal theories upheld at the pleading stage . . . turn . . . on whether Facebook
        shared [sensitive information] with third parties.” (Id. at 4).
        After four rounds of briefing, on the last page of their sur-reply, Plaintiffs finally
conceded what they should have said a year earlier: “Plaintiffs do not contend that
information that was not shared is relevant.” (Dkt. 547-3 at 9 (emphasis added)). This
concession—while welcome—raised frustrating and still unanswered questions about why
Plaintiffs had forced the parties to spend many hundreds of attorney hours over the previous
year negotiating and litigating over the relevance of data that was never shared or made
accessible outside of Facebook.
        D.     Judge Corley held that the discoverable user data in this case is sensitive
               data shared with third parties.
        In Discovery Order 9, Judge Corley addressed the user data relevant to this case and
largely adopted the position Plaintiffs took in their sur-reply brief. The Court held the user
data relevant to this case is “information that Facebook collects and shares with third parties
about Facebook’s users.” The Court explained that Plaintiffs’ claims “challenge Facebook’s
sharing of user data and alleged failure to monitor how third parties used such shared
information.” (Discovery Order 9, Dkt. 557 at 2 (emphasis added).)
         Discovery Order 9 further explained that the information “Facebook collects and
shares with third parties” is not necessarily limited to the information users post on Facebook
(as Facebook had argued) and would also include any shared data: (1) collected from a
user’s on-platform activity; (2) obtained from third parties regarding a user’s off-platform
activities; and (3) inferred from a user’s on or off-platform activity. Id.
        E.     Facebook confirmed it completed its production of discoverable user
               data.
        To comply with Discovery Order 9, Facebook investigated whether any discoverable
user data had not already been produced. We did not identify any such data. Indeed, as
stated earlier, the DYI file is overinclusive of the universe of discoverable data under Pretrial
Order 20 and Discovery Order 9.
        Again, this data-privacy litigation relates to Facebook’s alleged practice of sharing
certain “sensitive” user data with third parties. Third parties who are permitted access to


                                                4
     Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 6 of 15



individualized data about Facebook users access that data through application programming
interfaces (“APIs”). APIs are a standard industry programming tool, and they allow
applications to access data and features of other applications, services, or operating systems.
All of the APIs Facebook has made available to third parties query Facebook’s Social Graph
only and allow access to a subset of the information contained in the Social Graph.6
Facebook’s current “Download Your Information” or “DYI” tool retrieves data from, and
allows users to download the information Facebook maintains about them in, the Social
Graph. It is the most complete compilation of data Facebook maintains for any user and
reflects a human-readable version of the data relating to any user in Facebook’s Social
Graph—including, but not limited to, the data that could have potentially been accessed by
third parties.
       F.      The Court allowed a 30(b)(6) deposition to allow Plaintiffs to confirm
               Facebook had satisfied is production obligations.
        After Facebook reported its preliminary finding that it completed its productions of
discoverable user data, as described in Pretrial Order 20 and Discovery Order 9, Plaintiffs
told the Court: “[I]t is, frankly, just impossible for us to believe that.” (12/9/2020 Hr’g Tr. at
19:22-23.)
        To address Plaintiffs’ “disbelief . . . as to how Facebook operates,” the Court
suggested a 30(b)(6) deposition to narrowly address “the discoverable user data as articulated
by Discovery Order 9.” See 12/9/2020 Hr’g Tr. at 26:6-9; Discovery Order 11, Dkt. 588.
Ignoring the Court’s instructions, Plaintiffs issued a deposition notice on 12 extraneous
topics. Judge Corley quashed this notice—explaining it was “way beyond what she had in
mind.” See 1/15/2021 Hr’g Tr. at 17:12-13. The Court explained, “[w]e just need somebody
under oath” (id.) to “verify [Facebook’s] representation” (id. at 35:3-5) that it has produced
all discoverable data within the scope of Discovery Order 9.
        The 30(b)(6) deposition on discoverable user data was held on February 23, 2021.
Facebook designated Konstantinos Papamiltiadis as its witness on this issue. Mr.
Papamiltiadis is Facebook’s Vice President of Platform Partnerships, has over eight years of
experience at Facebook, and has 127 reports. Consistent with Judge Corley’s instructions,
Mr. Papamiltiadis spent nearly 20 hours preparing to testify about the discoverable user data
under Discovery Order 9—including the user data Facebook collects, how Facebook uses
different categories of user data, which categories of user data Facebook shares, and how
shared categories of user data are reflected in produced materials.
       G.      Plaintiffs declined to use the 30(b)(6) deposition as ordered and reverted
               to their position that all data relating to the Named Plaintiffs must be
               produced—even if not shared.
        Rather than use the 30(b)(6) deposition to address the topic the Court ordered,
Plaintiffs pursued their own agenda and used the deposition to explore all of the topics in the

6
 Facebook uses the term the “Social Graph” to describe the complex web of peoples, places, things,
actions, and connections on the Facebook Platform. The Facebook product that users see is powered
by a series of databases that work in tandem to provide Facebook users a seamless experience. As
Facebook users navigate through Facebook and interact with it—including, for example, by liking
posts made by other users, watching videos, posting photos, and sending messages—the users create
new relationships and connections between themselves and the content they are able to see. This web
of peoples, places, things, actions, and connections are referred to as the “Social Graph.”




                                                5
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 7 of 15



notice the Court had rejected. At the deposition, Plaintiffs did not even ask the most basic
questions about what user data Facebook shares with third parties. Plaintiffs never asked
“what categories of user data does Facebook make accessible to third parties?” Nor did they
ask whether the materials Facebook has produced reflect the scope of user data accessible to
third parties. Plaintiffs instead questioned Mr. Papamiltiadas for hours regarding different
types of data Facebook has used only internally (which Plaintiffs were already aware
existed)—including “data from third parties about users’ off-platform activity,” data derived
from the Facebook Pixel, and “information . . . associated with users via app-scoped IDs.”
        Plaintiffs now demand all of that data after they tactically avoided asking Mr.
Papamiltiadas whether any of it has been shared or otherwise made accessible to third
parties. It has not. Plaintiffs did not even seek to learn whether any of the data they asked
about was collected on an individual or aggregate level, whether it is stored (and, if so, for
how long), or whether it is anonymized. It is Plaintiffs’ burden to demonstrate how
information they seek is relevant to live claims. The Court ordered a narrow 30(b)(6)
deposition specifically to allow Plaintiffs to understand whether any user data relevant to
their claims was yet to be produced, and Plaintiffs deliberately declined to use the deposition
to address that issue.
        Rather, it seems that after spinning in circles on this issue for more than a year,
Plaintiffs have relapsed to their original position that Facebook must locate and produce all
data relating in any way, shape, or form, to the Named Plaintiffs—even if it is was not shared
and exists only as part of aggregated or anonymized data sets. The Court has already
rejected this position. And with Plaintiffs having obtained a ruling from the Court accepting
Plaintiffs’ earlier position that discoverable user data is limited to data that was shared with
third parties, Plaintiffs are judicially estopped from now arguing that user data is
discoverable irrespective of whether it was shared. See, e.g., United Nat. Ins. Co. v.
Spectrum Worldwide, Inc., 555 F.3d 772, 779 (9th Cir. 2009) (citing New Hampshire v
Maine, 532 U.S. 742, 750 (2001)).
        Facebook confirms again: Third parties who are able to access individualized user
data access that data through APIs that pull from Facebook’s Social Graph only, and the DYI
files Facebook produced reflects a human-readable version of the data relating to each
Named Plaintiff in Facebook’s Social Graph—including, but not limited to, the data that
could have potentially been accessed by third parties. Facebook’s productions under
Discovery Order 9 are complete.
II.    Plaintiffs’ March 4 letter demanding supplemental interrogatory responses
       relating to “Business Partners.”
         Plaintiffs’ letter demanding that Facebook supplement its responses to Interrogatories
14 and 15, which concern “Business Partners,” raises the same concerns about unnecessary
re-litigation of previously decided issues. The parties litigated—and Judge Corley decided—
this issue last month. See Dkt. 608. Facebook confirmed, consistent with Judge Corley’s
Order, that its responses to these Interrogatories are complete. Facebook’s responses to
Interrogatories 14 and 15 are extraordinarily comprehensive and alone span 195 pages—
most of which are single-spaced tables, using a Size 7 font.
        After speaking with Plaintiffs about this issue, we understand Plaintiffs to demand
additional information in response to these Interrogatories on two grounds. First, Plaintiffs
explained that they believe Judge Corley intended her Discovery Order on Business Partners
(Dkt. 608) to “expand the case” beyond Judge Chhabria’s Motion to Dismiss Order (and
Plaintiffs’ Complaint) to reach all of Facebook’s business relationships. Second, Plaintiffs
highlight that Facebook has had business relationships over the past decade with entities that
do not appear in Facebook’s Interrogatory responses.



                                               6
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 8 of 15



        Plaintiffs position seeks to unwind more than three years of litigation, multiple court
orders, and Plaintiffs’ own allegations and discovery requests. Neither this case nor the
specific Interrogatories at issue concern every business relationship Facebook has ever had.
        A.      Judge Chhabria’s Motion to Dismiss ruling allowed Plaintiffs’ “Business-
                Partner” allegations to move forward with respect to a finite set of third
                parties.
        In his decision on Facebook’s Motion to Dismiss, Dkt. 298, Judge Chhabria made
clear that Plaintiffs would not be permitted to litigate a sweeping attack on Facebook’s entire
business and all of its business relationships. Plaintiffs’ First Amended Consolidated
Complaint was 1,442 paragraphs and 412 pages. Dkt. 257. Judge Chhabria observed, “it
seems the plaintiffs sought to identify anything Facebook has ever been reported to have
done wrong . . . . [T]he presence of so many disparate and vague allegations makes it nearly
impossible for Facebook to meaningfully respond to all of them, much less for the Court to
effectively address them.” Dkt. 298 at 5-6.
         To avoid “bogging the case down at the pleading stage for years,” id. at 6, Judge
Chhabria did not address each of Plaintiffs’ improperly pleaded theories and claims. Instead,
he concluded that Plaintiffs adequately pleaded “four categories” of potential wrongdoing
related to “Facebook’s practice of sharing its users’ personal information with third parties.”
Id. at 6, 1. He then dismissed certain claims, id. at 30, and stayed all other claims and
theories not falling into the four categories of alleged misconduct. Id. at 6 (“All other
prioritized claims not addressed by this ruling will be stayed.”).
       The first two theories Judge Chhabria allowed to move forward concern data-sharing
with app developers. Judge Chhabria described the third theory as “sharing sensitive user
information with business partners.” Dkt. 298 at 8. The fourth theory concerns Facebook’s
enforcement of its data-use policies with respect to third parties.
        The third “Business Partner” theory Judge Chhabria allowed to move forward is
about Facebook’s alleged practice of entering “data reciprocity” agreements with third
parties in connection with arrangements to make certain Facebook functionalities available
on third-party devices and platforms. See Dkt. 298 at 8. Plaintiffs’ Complaint uses the term
“Business Partners” to describe “roughly 150” entities with whom Facebook partnered to
“develop and integrate Facebook’s User Platform on multiple devices and operating
systems.” See SACC ¶¶ 430-440.7 The Complaint alleges that Facebook “gave Business
Partners access to users’ content and information” to facilitate these partnerships. Id. In
support of its allegations with respect to “Business Partners,” Plaintiffs cite a list of entities
Facebook describes as its “integration partners” that Facebook shared with Congress (SACC
¶ 431), and a New York Times article about Facebook’s integration partners (SACC ¶¶ 433,
435).
        Judge Chhabria similarly explained that the list of “Business Partners” Plaintiffs had
identified “came from Facebook itself, which asserted that it had ‘integration partnerships
with these companies.” Dkt. 298, at 8. Judge Chhabria held that the misconduct Facebook
allegedly engaged in with respect to these entities was “relatively straightforward”:
“Facebook shared information about its users with this non-exclusive list of business

7
 These partnerships served two primary purposes: (i) to enable users to access their Facebook
accounts or specific Facebook features on devices and platforms built by other companies, such as
Blackberry and Apple, before the existence of the “app store”; and (ii) to enable users to connect their
Facebook social experiences with other popular apps and websites, like Yahoo and Twitter—if they
chose to do so. Some transfer of data was needed to allow users to access their Facebook accounts on
devices and platforms built by other companies (like Blackberry) and, if they explicitly chose, to
connect their Facebook accounts with other platforms.



                                                   7
     Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 9 of 15



partners, and that those companies in turn shared data with Facebook.” Id. at 8. “These
partnerships, the complaint alleges, were built in part on ‘data reciprocity.’ Facebook and its
partners agreed to exchange information about users’ activities with each other.” Id.
(internal quotations omitted).
       B.      Facebook provided nearly 200 pages of responses to Plaintiffs’
               Interrogatories regarding “Business Partners.”
        Plaintiffs’ Fourth Set of Interrogatories seeks information about the “Business
Partners” alleged in their Complaint. Specifically, Interrogatory 14 seeks a list of “Business
Partners” that had access to “Not Generally Available” information about users even if users
did not download an app made by the entity.8 Interrogatory 15 seeks details about the “Not
Generally Available” information the so-called “Business Partners” were able to access.
        Plaintiffs’ own Interrogatories recognize that the “Business Partner” theory does not
concern all of Facebook’s business relationships. Consistent with Plaintiffs’ Complaint and
Judge Chhabria’s Order, Plaintiffs’ Interrogatories defined “Business Partners” as “third
parties with whom Facebook partnered to develop and integrate Facebook on a variety of
devices and operating systems.”
        Facebook served nearly 200 pages of responses to these Interrogatories. As parties
typically do in their responses to interrogatories, Facebook also provided definitions that it
would use in its response. Facebook offered a definition of “Business Partners” that was
intended to add clarity and capture all entities falling into the business partner conduct Judge
Chhabria described in Pretrial Order 20. The parties discussed their definitions of “Business
Partners” at length over the course of several months.
       C.      Plaintiffs litigated the scope of Facebook’s Interrogatory responses.
        After months of back-and-forth—during which Facebook confirmed it did not
withhold any relevant or responsive information based on its definition of “Business
Partners”—Plaintiffs insisted on litigating the definition of “Business Partners” that would be
used to respond to their Interrogatories.
        Judge Corley found the term “Business Partners” to refer to the third category of
potential liability identified by Judge Chhabria and deciphered “no meaningful difference
between the parties’ definitions.” Dkt. 608. Judge Corley confirmed that “Business
Partners” would include companies with which Facebook had agreements “to exchange
information about users’ activities with each other,” consistent with Judge Chhabria’s
explanation, even if Facebook did not label them “integration partners,” id., and she ordered
Facebook to confirm it had fully responded to Plaintiffs’ requests. Id. Facebook confirmed
it had.
       D.      Plaintiffs now argue Judge Corley’s order with respect to “Business
               Partners” expands the scope of the case to reach all of Facebook’s
               business relationships.
       Plaintiffs now seek to relitigate this issue. During a meet and confer, Plaintiffs’
counsel represented that they believe Judge Corley intended her Order to greatly “expand”
the “Business Partner” theory articulated in Plaintiffs’ Complaint and by Judge Chhabria.



8
 The Interrogatories define “Not Generally Available” information to be information “to which that
Facebook User has restricted access such that the only Facebook Users who may access that Content
and Information are the Facebook User’s Friends or another limited audience.” This definition
explicitly asks about activities conducted on Facebook (which users can limit the audience for).



                                                 8
       Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 10 of 15



        In Plaintiffs’ words, nearly three years into this litigation, Judge Corley “expanded
the case” to concern Facebook’s relationship with any entity that has ever received a single
piece of information relating in any way to people who use Facebook, so long as, at any
point in time, that entity told Facebook anything that could be interpreted to concern
Facebook users. Plaintiffs take this position even though Plaintiffs’ Business Partner
allegations refer to a finite number of entities with whom Facebook allegedly entered “data
reciprocity” agreements in connection making Facebook functionalities available on third-
party devices and platforms. See SACC ¶¶ 430-440.
        For instance, Plaintiffs’ letter claims the “Business Partner” theory now extends to
Facebook vendors that performed statistical analyses for Facebook using anonymized data,
on the basis that these vendors accessed anonymized information to perform analyses for
Facebook and then reported their conclusions back to Facebook.




                         No allegations about relationships of this nature appear in the
Complaint, nor is it clear how they could possibly be actionable. 10
        Plaintiffs’ extreme and unfounded position would bring nearly every entity with
which Facebook has ever interacted within the scope of this case—even where the
relationship is clearly disclosed within Facebook’s terms and has no relationship to the
conduct actually alleged. Indeed, Plaintiffs’ letter recites every type of business relationship
Facebook’s 30(b)(6) deponent said Facebook has had over the years and demands that
Facebook update its interrogatory responses to address every entity falling into each category
he listed. Plaintiffs seek this information even with respect to relationships that did not
include any sort of data sharing, much less the type of arrangements described in Plaintiffs’
Complaint and Judge Chhabria’s motion to dismiss order.11

9
    Plaintiffs’ selective quoting of Ms. Lee’s testimony is tremendously misleading.




10
   Facebook’s use of vendors and work with measurement partners is clearly disclosed in its Data
Policy and thus cannot constitute the type of illicit data-sharing partnership the Court has found
actionable. See MTD Order, Dkt. 298, at 21-22 (dismissing claims where information sharing at
issue was disclosed in Facebook’s Data Use Policy); see also FB’s 6/8/12 Data Use Policy, FB-CA-
MDL-00233442 at 00233455 (“We give your information to the people and companies that help us
provide, understand and improve the services we offer. For example, we may use outside vendors to
help host our website, serve photos and videos, process payments, analyze data, measure the
effectiveness of ads, or provide search results.” (emphasis added)); see also SACC ¶ 561 (quoting
same).
11
   The first two categories of entities Mr. Papamiltiadis listed, “device manufacturers and mobile
operators that . . . help us build Facebook-like experiences in order to reach a wider audience,” Tr. at
25:16-20, and “developer partners . . . [which] are third-party software companies that have access to
our APIs and they build experience[s] for both consumers and other businesses,” id. at 25:21-25, are
already accounted for in Facebook’s Interrogatory responses. The second two categories described
                                                                                (Cont’d on next page)


                                                    9
       Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 11 of 15



         It is clear that neither Judge Chhabria nor Judge Corley intended to open the door to
such wide-ranging and irrelevant inquiries. For starters, it is clear that Judge Chhabria’s
Motion to Dismiss ruling did not bucket all of Facebook’s business relationships into the
“Business Partner” theory, which would have expanded the case to include theories of
liability going far beyond what Plaintiffs even alleged. To the contrary, Judge Chhabria
made clear that his motion to dismiss order allowed four alleged theories of potential liability
to move forward and that Plaintiffs’ remaining allegations would be stayed. Dkt. 298 at 6.
        Judge Chhabria identified specific theories of relief that would move forward to focus
this case and make it manageable to litigate—not to allow Plaintiffs to conduct a roving
investigation of all of Facebook’s business relationships over the past 13 years without
stating cognizable claims. Judge Corley’s February 1, 2021 order with respect to “Business
Partners” certainly did not expand this case to allow such an investigation. The order makes
clear that it tracks the third category of potential misconduct described in Judge Chhabria’s
Motion to Dismiss ruling and that Facebook should identify the entities Judge Chhabria
described, even if Facebook does not call some of those entities “integration partners.”
        We confirm again that our 195 pages of responses to Interrogatories 14 and 15 are
complete to the best of our knowledge and consistent with Judge Corley’s Discovery Order
with Respect to Business Partners. Discovery in this case is ongoing, and should we become
aware of any additional responsive information during the course of our ongoing factual
investigation, we will update our responses accordingly.
III.     Plaintiffs’ February 19 letter demanding additional materials provided to
         government entities.
       Plaintiffs’ letter regarding RFP 6 follows the same pattern and raises the same
concerns as the letters addressed above. This letter backtracks on more than a year of
productive discussions and litigation regarding Plaintiffs’ RFPs 6 and 43; inappropriately
invokes the parties’ expedited dispute resolution protocol to demand materials never
previously requested; and seeks materials relating only to events that occurred years after this
case was filed.
         A.     Facebook agreed to make cloned productions from certain government
                matters under RFP 6 to kick-start discovery while the parties negotiated
                threshold ESI issues.
        Plaintiffs served RFP 6 in November 2019. The request demands document
productions Facebook provided government entities in matters touching on related issues.
The parties extensively negotiated this request and completed negotiating it a year ago, in
early 2020.
        Facebook largely agreed to produce the materials RFP 6 requests. Even though
courts usually frown upon the type of “cloned discovery” requested by RFP 6,12 Facebook
agreed to make certain cloned productions from numerous matters under RFP 6 in a good
faith effort to move discovery forward.
       As Plaintiffs know, the parties had tremendous difficulty negotiating an ESI Protocol,
custodians, and search terms, and have been negotiating these threshold ESI issues for 18
months. To kick-start document discovery during these negotiations, Facebook agreed to

by Mr. Papamiltiadis—“business[es] that . . . publish[] on our platform, from news companies to
[NGOs]” and “suppliers”—have no apparent relationship to user data and Mr. Papamiltiadis
identified none.
12
 King County v. Merrill Lynch & Co., Inc., No. C10-1156-RSM, 2011 WL 3438491, at *3 (W.D.
Wash., Aug. 5, 2011) (quotation omitted)



                                                10
    Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 12 of 15



produce—and did produce—all of the Facebook documents produced in response to the
FTC’s document requests during its 2011 and 2019 investigations into Facebook. On top of
that, Facebook also agreed to review the Facebook documents it had produced to various
other state and federal entities in 9 additional government matters and to produce those
documents, so long as they were responsive to Plaintiffs’ document requests.
        The parties agreed that Facebook would complete its productions under RFP 6 by
July 3, 2020. Even though RFP 6 sought documents produced to government entities
through “the present” (i.e., through November 2019, when RFP 6 was served), Facebook
ultimately agreed to produce responsive documents it had produced to government entities
through April 15, 2020.
       B.      After the parties reached an agreement on cloned discovery, Plaintiffs
               sought more.
        Facebook understood the parties’ negotiations regarding materials from government
matters were complete. However, after the parties completed negotiating RFP 6, Plaintiffs
issued RFP 43, which sought additional materials exchanged in 10 government matters,
including: “All privilege logs, interrogatory responses, written reports, correspondence and
deposition transcripts.” During the parties’ meet and confer discussions, Plaintiffs told us
that they issued this RFP because the parties had agreed RFP 6 would apply only to
document productions but Plaintiffs in fact wanted any other piece of paper to have
exchanged hands with any government entity in any matter touching on related issues.
Facebook objected to this request in June 2020.
       Six months after Facebook served its responses and objections to RFP 43, on
December 10, 2020, Plaintiffs sent Facebook a letter stating they would agree to limit the
scope of RFP 43 to deposition transcripts from government matters and any written
discovery responses Facebook provided government entities. Then, in a subsequent meet
and confer, Plaintiffs informed Facebook that their revised request for written discovery
responses also included a demand for all of Facebook’s counsel’s formal and informal
correspondence with the government. On February 12, 2021, Plaintiffs filed a motion to
compel all materials demanded under RFP 43. Facebook responded on February 18.
       C.      After filing a motion to compel certain materials from government
               matters, Plaintiffs return to RFP 6 to seek additional materials they did
               not include in their motion.
        On February 19, one day after Facebook responded to Plaintiffs’ motion to compel,
Plaintiffs sent Facebook another letter demanding additional materials from government
matters—this time supposedly under the ambit of RFP 6, which the parties had finished
negotiating a year earlier. Plaintiffs’ letter invokes RFP 6 to demand that Facebook now
review and produce any document productions made in the 10 government matters since
April 2020. It further demands that Facebook produce materials created and provided to the
FTC pursuant to a consent decree that was entered in July 2020.
               1.      There is no basis for additional cloned productions—Facebook
                       produced the cloned materials it agreed to provide, and the parties
                       now have their own search terms.
        As an initial matter, the parties completed negotiating RFP 6 in April 2020 and
reached an agreement on the scope of Facebook’s productions in response to that RFP.
Plaintiffs’ efforts to revisit that agreement a year later undermines the time and effort the
parties put into negotiating and compromising discovery requests and makes it difficult for
the meet and confer process to work effectively.




                                              11
     Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 13 of 15



        In any case, RFP 6 does not request the documents Plaintiffs seek. Plaintiffs defined
the “Relevant Time Period” for this request as materials provided to government entities
“through the present” (i.e., through November 2019). Despite Plaintiffs’ November 2019
cut-off, Facebook agreed to produce materials in response to RFP 6 that had been produced
to government entities through April 2020. The parties agreed Facebook would complete its
production of these materials by July 3, 2020. Facebook did.
        There is no good-faith basis for Plaintiffs’ demand that Facebook now review and
produce additional cloned productions from government matters. As explained above, courts
typically reject blanket demands for document productions from other actions for two
reasons. First, “compelling a responding party to do duplicate searches—one for responsive
documents in their custody and control and one for all documents in their custody and
control that were previously produced in other litigation—is definitionally unduly
burdensome.” Goro v. Flowers Foods, Inc., No. 17-CV-02580-JLS-JLB, 2019 WL 6252499
*18 (S.D. Cal., Nov. 22, 2019); accord In re Volkswagen “Clean Diesel” Marketing, Sales
Practices, and Prods Liability Lit., MDL No. 2672, 2017 WL 4680242 (N.D. Cal., Oct., 18,
2017) (Corley, M.J.) (rejecting cloned discovery requests). Second, cloned discovery “is
irrelevant and immaterial unless the fact that particular documents were produced or received
by a party is relevant to the subject matter of the subject case.” King County, 2011 WL
3438491, at *3 (quotation omitted).
        Facebook agreed to jump-start document discovery, while the parties negotiated
threshold ESI issues, by reviewing and producing certain materials produced to government
entities. The parties have now negotiated search strings for a year and finally appear to have
reached agreement to use search strings that hit on approximately 6 million documents. On
the eve of finalizing that agreement, Plaintiffs seek to substantially expand that universe by
requiring Facebook to also engage in an ongoing review of all documents produced in
numerous government matters for any additional responsive documents.
        It is neither practical nor reasonable to expect Facebook to continue to track every
document produced in numerous other actions (handled by multiple law firms) and to review
every one of those documents for responsiveness—in addition to approximately 6 million
documents identified through search strings. This is precisely why courts generally reject
requests for cloned discovery. To the extent documents have been produced to government
entities since April 15, 2020 that are responsive to Plaintiffs’ RFPs, the parties have agreed
to search for those materials by running the agreed-upon and court-ordered search terms
against the agreed-upon and court-ordered custodians. Plaintiffs’ request that Facebook
separately review its ongoing productions to government entities is unreasonable, unduly
burdensome, and not proportional to the needs of the case.
                2.      Materials created for the FTC after July 2020 are neither
                        responsive to RFP 6 nor relevant to this case.
       Finally, Plaintiffs’ letter demands materials Facebook agreed to create and produce to
the FTC, as part of the FTC’s ongoing monitoring of Facebook under a consent decree that
was entered in July 2020.13 These materials fall outside of the timeframe of RFP 6. They
also appear to be among the materials Plaintiffs requested originally through RFP 43 (which
seeks “written reports” to the government) but later told Facebook and the Court they had
dropped from their request.


13
  Plaintiffs also seem to request categories of materials Facebook put on legal hold for periods of 6
months to 5 years under the FTC’s 2011 consent decree. To the extent these materials remained on
hold when this action was filed and are captured by the negotiated custodians and search terms, they
will be produced.



                                                  12
      Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 14 of 15



       More fundamentally, materials created for the FTC after July 2020 and as part of the
FTC’s forward-looking monitoring of Facebook have no conceivable relevance to this case,
which was filed in March 2018 and concerns conduct before that date.
IV.     Plaintiffs February 11 letter regarding “Developer Manuals.”
        Finally, Plaintiffs invoke the parties’ dispute resolution protocol to compel the
immediate production of materials over which there is no dispute and no apparent
urgency. Plaintiffs’ February 11, 2021 letter demands—under threat of an immediate motion
to compel—that Facebook produce within 8 days, what they describe as “manuals” relating
to Facebook’s systems that were created over the course of a decade. While not entirely
clear, Facebook understands this request to seek every iteration of its developer website to
have been published since 2007, because this site provides technical instructions to
application developers regarding how to use Facebook’s systems.
        Plaintiffs are correct that the parties discussed this request previously. However,
these discussions took place a year ago in March 2020 and related to a demand that
Facebook produce “developer manuals” in connection with an ESI deposition Plaintiffs had
noticed. Judge Corley ultimately ruled that the noticed deposition would not move forward.
Plaintiffs did not follow up with this document demand again until a meet and confer held in
November 2020. During that meet and confer, Plaintiffs’ counsel informed Facebook that it
should not prioritize collection and production of the developer documents and should
instead focus on other targeted collections.
        Three months later, during a meet and confer held on February 11, 2021, Plaintiffs
(out of nowhere) demanded that Facebook locate and produce all “developer manuals”
within one week, in anticipation of an upcoming 30(b)(6) deposition. Facebook urged
Plaintiffs to clarify their request and to identify any specific, targeted documents they
believed they needed for the deposition—explaining it would be difficult to locate, collect,
and produce a large volume of materials within a matter of days.
        Plaintiffs did not clarify their request or limit it to specific documents. Instead, hours
after the meet and confer, Plaintiffs sent Facebook a letter purporting to invoke the parties’
dispute protocol with respect to “developer manuals.”
         There is no outstanding dispute with respect to these documents. As Facebook
understands, Plaintiffs seek different versions of its developer website that have been
published over time. Facebook does not object to producing the current version of
Facebook’s developer website (which Plaintiffs can access at developers.facebook.com) or
any prior versions of the website Facebook maintains to the extent they have been archived
internally at Facebook. But the Wayback Machine appears to maintain more than 30,000
saved instances of past versions of the developer website. If there are specific versions of the
site that Plaintiffs seek, they should identify them. The parties should meet and confer to
clarify what specific information Plaintiffs are seeking and define an appropriate set of
responsive materials.
        Finally, as Facebook has told Plaintiffs numerous times, the parties must agree upon a
schedule for Facebook to produce documents in response to targeted requests. Plaintiffs’
ongoing demands that Facebook immediately locate and produce one-off materials
significantly interfere with Facebook’s ability to produce responsive documents found
among the millions of documents hitting on the parties’ agreed-upon search strings.
Facebook encourages Plaintiffs to limit, narrow, and clarify their requests and to work with
Facebook to develop a production schedule.




                                                13
    Case 3:18-md-02843-VC Document 910-7 Filed 04/11/22 Page 15 of 15



Sincerely,



Deborah L. Stein




                                   14
